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                      Exhibit C
       Case No. 1:20-cr-00152-PAB Document 705-3 filed 10/22/21 USDC Colorado pg 2 of 3

$2 5HY 6XESRHQDWR7HVWLI\DWD+HDULQJRU7ULDOLQD&ULPLQDO&DVH


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                                                                            IRUWKH
                                                              District of Colorado
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                   8QLWHG6WDWHVRI$PHULFD
                              Y
                       Jayson Penn et al.                                              &DVH1R 1:20-cr-00152-PAB

                              'HIHQGDQW


                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

7R     Greg Finch, relating to the authentication of records.




        YOU ARE COMMANDEDWRDSSHDULQWKH8QLWHG6WDWHVGLVWULFWFRXUWDWWKHWLPHGDWHDQGSODFHVKRZQ
EHORZWRWHVWLI\LQWKLVFULPLQDOFDVH:KHQ\RXDUULYH\RXPXVWUHPDLQDWWKHFRXUWXQWLOWKHMXGJHRUDFRXUWRIILFHU
DOORZV\RXWROHDYH
3ODFHRI$SSHDUDQFH UNITED STATES DISTRICT COURT                                      &RXUWURRP1R     A201
                               901 19th Street                                         'DWHDQG7LPH
                               Denver, CO 80294                                                           10/25/2021 9:00 am

           <RXPXVWDOVREULQJZLWK\RXWKHIROORZLQJGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWV EODQNLIQRW
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'DWH         10/20/2021
                                                                                       &/(5.2)&2857 , Jeffrey P. Colwell

                                                                                                        s/Nicholas Richards
                                                                                                  6LJQDWXUHRI&OHUNRU'HSXW\&OHUN



7KHQDPHDGGUHVVHPDLODQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ QDPHRISDUW\
     United States of America          ZKRUHTXHVWVWKLVVXESRHQDDUH
                                                                                          Michael Koening
                                                                                          Trial Attorney
    Upon receipt of this Subpoena, please contact                                         U.S. Department of Justice, Antitrust Division
    Witness Coordinator, Sherry Russom, at                                                450 5th Street, NW
    (888)751-4450,or e-mail her with contact                                              Denver, Colorado 80202
    Information at mailto:Sherry.Russom@usdoj.gov                                         Washington, DC 20530
                                                                                          Email: Michael.Koenig@usdoj.gov
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$2 5HY 6XESRHQDWR7HVWLI\DWD+HDULQJRU7ULDOLQD&ULPLQDO&DVH 3DJH

&DVH1R 1:20-cr-00152-PAB

                                                                 PROOF OF SERVICE

           7KLVVXESRHQDIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
ZDVUHFHLYHGE\PHRQ GDWH                                       

          u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGSHUVRQDVIROORZV


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          8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
          WHQGHUHGWRWKHZLWQHVVIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
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          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                                    6HUYHU¶VVLJQDWXUH



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